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    In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                       No. 20-1592V


    AMY TAPPENDORF,                                      Chief Special Master Corcoran

                       Petitioner,
    v.                                                   Filed: February 12, 2021

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                      Respondent.


                  SCHEDULING ORDER-SPECIAL PROCESSING UNIT

      A telephonic status conference was held on February 10, 2021. Nathaniel Enos
appeared on behalf of Petitioner, and Jeremy Fugate appeared on behalf of Respondent.

       During the call Petitioner’s counsel agreed to file medical records associated with
Petitioner’s third surgery and follow-up treatment. Petitioner’s counsel further indicated
that a small amount of lost wages is associated with this claim, but no Medicaid lien or
worker’s compensation are at issue.

        In addition, the parties discussed the “One-Year Rule” and the related new
procedures I am implementing in SPU cases that have gone through the PAR 1 process.
PAR was initiated in order to ensure that cases “enter” the Vaccine Program are deemed
substantially complete and ready for review. That process involves an initial review of the
materials filed in support of a claim, to determine preliminarily if the records are complete.
In addition, beginning on January 1, 2020, Petitioners are required to complete a PAR
Questionnaire providing specific information related to the vaccination, injury, medical
providers, and dates of treatment. 2 Both of these procedural changes make it far more
likely than in the past that claims assigned to SPU are ready for substantive analysis early
on.

       I am well aware of the fact that, even after a case is assigned to SPU, some
additional time is needed for Respondent to evaluate the claim, but this time period is not
1
  PAR stands for Pre-Assignment Review. See
https://www.uscfc.uscourts.gov/sites/default/files/PAR%20Announcement%20-%2008.20.2019.pdf (last
visited on March 4, 2020) (describing this new program).
2
 The PAR Questionnaire may be found at:
https://www.uscfc.uscourts.gov/sites/default/files/PAR%20Questionnaire_Fillable%20PDF.pdf (last visited
on March 4, 2020).
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without limitation. The Vaccine Rules contemplate that Respondent will review the
records for completeness within 30 days, and then determine his position (via a Rule 4(c)
Report) within 90 days of the filing of a petition and all required records. See Vaccine Rule
4(a), (c). Although the deadline for the Rule 4(c) report in SPU cases is routinely
suspended 3 (in the interest of allowing Respondent to provide his tentative position in a
status report, and thereby making expedited settlement more likely), we have observed
that this process is taking longer and longer to complete.

       I understand that Respondent’s resource constraints and the resulting backlog of
cases awaiting review are matters somewhat outside of his control. However, SPU is
intended to expedite processing of claims that historically have been resolved without
extensive litigation. The commonly reported delay of ten to eleven months for
Respondent’s medical review thus frustrates SPU’s purpose – to expedite cases that do
not require extensive litigation.

       Given the above, I have determined that cases should not stay assigned to SPU
for greater than a year from the time they leave the PAR process (unless the case has
been conceded, or Respondent has indicated that the case is likely to resolve informally
despite delay). Accordingly, I direct that in addition to reviewing the record for
completeness, Respondent’s counsel should also perform an informal assessment of the
case, as described in more detail below.

        Respondent’s counsel is directed to review the filings to date in this case (including
the PAR questionnaire), and state in a filing whether (1) they believe the case may be
appropriate for informal resolution in the SPU, (2) they have identified significant factual
or legal issues that could be resolved with further development of the record while the
case is awaiting medical review, and (3) the case involves complicated medical issues
that either are beyond what is normally addressed in SPU or that may be anticipated to
cause Respondent to oppose compensation. In such circumstances, rather than simply
delaying action on a case while it awaits medical review, either Petitioner can work to
obtain additional evidence, or the case may be reassigned out of SPU, as appropriate.
Examples of issues that may require further evidence include, but are not limited to,
issues such as the timing of the onset of an injury, facts pertaining to vaccine
administration such as the site, route, or other circumstances, whether the six month
sequelae requirement is satisfied, and whether there is insufficient evidence to satisfy any
Table criterion.

      Respondent’s counsel’s informal assessment of the case will not be considered
Respondent’s official position, which will be developed after the case has undergone
medical review and a Rule 4(c) Report is filed, and thus, informal assessments of the
cases’ appropriateness for settlement will not constitute conceded or waived facts or
3
  See Vaccine Rule 4(c)(1) which allows the special masters to set a different schedule for Respondent’s
Rule 4 (c) report. The most recent version of the Vaccine Rules, located in Appendix B of the Rules of the
United States Court of Federal Claims, can be found on the court’s website at
https://www.uscfc.uscourts.gov/sites/default/files/VACCINE%20RULES%20FINAL%2006.25.2019.pdf
(last visited on May 7, 2020).


                                                    2
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positions. I provide this assurance in order to encourage Respondent’s counsel to make
their best efforts to use their experience and judgment without concern that doing so will
limit their client’s rights. At the same time, however, I expect Respondent’s counsel to do
their best in performing this informal assessment, and do not expect that glaring issues
will be raised for the first time after Respondent’s medical review.


        Accordingly:

    1. Petitioner shall file, by no later than Monday, April 12, 2021, her medical
       records associated with Petitioner’s third surgery and follow-up treatment
       and an amended statement of completion.

    2. Respondent shall file, by no later than Monday, April 12, 2021, a status report
       indicating that Respondent’s counsel has completed an informal
       assessment of the claim and the records filed by Petitioner and:

            a. Identifying any additional records or information that Respondent’s
               counsel believes are necessary to evaluate Petitioner’s claim; 4
            b. Stating Respondent’s counsel’s initial informal assessment of the
               potential for informal resolution of this case;
            c. Identifying any factual or legal issues that Respondent’s counsel
               identifies that have the potential to be addressed through further
               development of the record;
            d. Identifying any complicated medical issues that are beyond what is
               normally addressed in SPU or that may be anticipated to cause
               Respondent to oppose compensation; and
            e. Estimating the time needed for Respondent’s medical review.

     Any questions about this order or about this case generally may be directed to
OSM staff attorney Jocelyn McIntosh at (202) 357-6344 or
Jocelyn_McIntosh@cfc.uscourts.gov.

IT IS SO ORDERED.
                                                          s/Brian H. Corcoran
                                                          Brian H. Corcoran
                                                          Chief Special Master




4
  In the event that Respondent’s counsel identifies additional records that are required, it may be necessary
for Respondent’s counsel to later update his or her informal assessment of the claim if those records alter
Respondent’s position in the case.

                                                     3
